                    Case 1:13-cv-01324-DAD-EPG Document 194-4 Filed 01/09/18 Page 1 of 6


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                      5080 California Avenue, Suite 340
            J         Bakersfield, CA 93309
                                  661-716-3000
            4                                                        mnilsson@dowlingaaron. com
            5
                      Attorney for Plaintiff, COREY MITCHELL
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                                                      UNITED STATES DISTRICT COURT
            9
                                            FOR THE EASTERN DISTRICT OF CALIFORNIA
           10

           11          COREY MITCHELL                                        Case No. I : 1 3-cv-01 324-DAD-EPG

           t2                                    Plaintiffl                  DECLARATION OF JUSTIN L. THOMAS
                                                                             IN SUPPORT OF MOTION FOR
           13          v                                                     ATTORNEY'S FEES

           t4          CHAVEZ, ET AL                                         Judge: Hon. Dale A. Drozd
           t5                                    Defendants

           t6
           l7
            18               JUSTIN L. THOMAS DECLARES:

            t9                1.     I am an attorney at law and am a member of the Bar of this Court. I am employed
           20         with Dowling Aaron Incorporated, attomeys of record for Plaintiff Corey Mitchell. I have
           2l         personal knowledge of the matters stated herein and if called as a witness, I am competent to

           22         testiS to these matters.

           23                2.      Attorney Micah Nilsson is also employed with Dowling Aaron Incorporated. A

           24         true and correct copy of our respective biographies as they appear on our firm's website are

           25         attached hereto as Exhibits A and B. Exhibits A and B accurately reflect a swnmary of the

           26         education, training and certain experience of myself and Mr. Nilsson. My billable rates during

           27         the case were $225 and $250. Mr. Nilsson's billable rates were $350 and $375.

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ÞOWLINGIAARON              DECLARATION OF JUSTIN L. THOMAS IN SUPPORT OF MOTION FOR ATTORNEY'S FEES
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                    Case 1:13-cv-01324-DAD-EPG Document 194-4 Filed 01/09/18 Page 2 of 6



                1             3.       Attached hereto as Exhibit C is a true and correct copy of a current resume for

                2     Kay Burnett, who is a paralegal employed with my firm. The attached resume accurately reflects
                â
                J     the education, training and experience of the paralegal.

                4             4.       On January 3,2017, the Court appointed Daniel Jamison, Micah Nilsson and me,

                5     Dowling Aaron Inc., to represent Plaintiff Corey Mitchell in this case. Counsel were appointed
                6     because Mr. Jamison is a member of the pro bona panel of the Court for prisoner cases.

                7             5.       This case involves an action brought under 42 U.S.C. $ 1983, in which a jury
                I     ultimately found that Defendants violated Plaintiff Corey Mitchell's Eighth Amendment
                9     Constitutional Right to be free of cruel and unusual punishment by failing to protect him from a

            10        serious risk of harm. A true and correct copy of the Verdict Form of August 18,2017 is attached

            11        hereto as Exhibit D.

            I2                6.       On September 5, 2011, Mitchell was stabbed by his cell-mate that Defendants had

            l3        arranged to be transferred into Mitchell's cell.

            t4                7.       Plaintiff filed a complaint in court on August 2I,2013 naming Defendant Chavez,
            15        Defendant Sheldon and others as Defendants. Plaintiff claimed Defendants were deliberately

            16        indifferent to a substantial risk of harm against him, that Defendants knew of and disregarded a

            t7        substantial risk of harm by failure to take reasonable measures to address the risk by arranging

            18        for the cell transfer.

            I9                8.       In March 2015, Pursuant to 28 U.S. Code $ l9l5A, the court screened Plaintiff s

            20        complaint and dismissed all claims and defendants other than the failure to protect claim against

            2T        defendants Sheldon and Chavez.

            22                9.       Thereafter, the Court appointed Daniel O. Jamison, Micah N. Nilsson and me,

            23        Dowling Aaron Inc., to represent Plaintiff Corey Mitchell in this case, on January 3,2017.4 true

            24        and correct copy of said Order of January 3,2017, is attached hereto as Exhibit E. As Plaintiff

            25        initially represented himself little discovery was done. Mr. Nilsson and I are and were based in
            26        Bakersfield and were closer to the Plaintiff s prison than Mr. Jamison, who is and was based in

            27        Fresno. This arrangement saved time in traveling to and from the prison, but meant that

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                        Case 1:13-cv-01324-DAD-EPG Document 194-4 Filed 01/09/18 Page 3 of 6



                    I     Mr. Nilsson and I would need to travel to Fresno for trial. This trade-off in time incurred and
                )         time saved is and was felt to be reasonable under the circumstances.
                ô
                J                 10. On January 20,2017, the parties filed a stipulation requesting that the March 7,
                4         2017 trial date and deadlines set by a prior scheduling order entered on December 14,2016be

                5         vacated. In addition, because discovery had been closed by the time the Court appointed counsel

                6         for Plaintiff, counsel for Plaintiff moved to reopen discovery. Plaintifls motion was granted, in

                7         part, and denied, in part. My requests to subpoena additional prison records, and to depose

                8         Defendants was granted. In preparation for the trial, we spent substantial amount of time

                9         conducting the discovery, which included taking the Defendants' depositions and subpoenaing

               10         prison records; reviewing thousands of medical and prison records; an on-site conference with

               1l         Mr. Mitchell; multiple telephonic conferences and written correspondence with Mr. Mitchell;
               T2         researching the law as it applies to this case; subpoenaing percipient witnesses and preparing pre-

               T3         trial documents, opening statement, closing argument and witness examination questions.
               t4                 11. On the date of the continued trial, August 15,2017, Mr. Nilsson and I appeared
               15         for trial. Counsel and the Court spent the entire day on pre-trial matters. A jury was chosen and

               1.6        trial began, on August 16, 2017 , and continued until the day of the verdict on August 18, 2017 .
               t7         Mr. Nilsson and I were present for all days of trial. A true and correct copy of the Minutes of
               18         Jury Trial, from August 15, 2017, to August 18,2017, are attached hereto as Exhibit F-I.

               T9                 12. The jury deliberated on the last day of trial and returned a unanimous verdict in
               20         favor of Mr. Mitchell. The verdict awarded $100,000 to Mitchell for compensatory damages.

               2t         The jury also found that the elements for punitive damages existed, and a firther trial on the

               22         issue of punitive damages wris set. Prior to the punitive stage of the trial, the parties settled. Mr.

               23         Nilsson and I attended a settlementconference on August 23,2017 and a settlement was reached.

               24         The settlement, which was put on the record, included that the court would retain jurisdiction to

               25         enforce the settlement and to determine attorney's fees and costs. In addition to the settlement,

               26         the parties entered into a stipulation for dismissal, which stipulated that the Court would retain

               27         jurisdiction to enforce the settlement agreement and to decide costs and fees.

               28

                              DECLARATION OF JUSTIN L. THOMAS IN SUPPORT OF MOTION FOR ATTORNEY'S FEES
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                    Case 1:13-cv-01324-DAD-EPG Document 194-4 Filed 01/09/18 Page 4 of 6



                1             13. Plaintiff s attomeys, and paralegal put in a total of 576.5 hours in litigating this
                2     case, including the time I spent researching and writing this motion and the additional briefing
                a
                J     regarding recovering attorney's fees. At the attorneys' and paralegals' fuIl rate, the total fees for

                4     legal services rendered is $160,049.50 at an average hourly rate of 5266.22, the including total

                5     for my work on this motion and the briefing on the appropriateness of attorney's fees. 'When
                6     reduced by the attorney fee limits imposed by 42 U.S.C. $ 1997e, of a maximum of $198.00

                7     ($132 x 1.5) per hour, those fees are reduced to $120,700.10 (See Page from the Intemet Site of

                I     the United States Courts "The Defender Service Program," Ex. K (noting the maximum amount

                9     paid for Public Defenders in non-capital cases (set under 18 U.S.C. $ 30064) is $132lhour). In

            10        addition, Plaintiff s law firm incurred $6697 .54, in costs, which include computer research fees,

            11        filing fees, processor fees, travel charges, copying costs and witness fees. Mr. Nilsson and I
            t2        incurred costs traveling from Bakersfield for trial and an on-site conference with Mr. Mitchell.

            13        The total costs incurred in this case are 56697.54, all of which are reimbursable attomeys' fees,

            t4        within the meaning of section 1988. At least, $2,817.99 in expenses has been paid from the
            15        Court's Non Appropriated Fund. Any expenses which have been reimbursed from the fund will

            t6        be reimbursed from the costs awarded here. All of the above costs and fees would customarily be

            t7        billed to clients in the firm's practice. The attached time records have been redacted to preserve

            18        the attorney-client and work product privileges.

            T9                14. Attached hereto as Exhibit J is a true and correct copy of a Billing Statement
            20        related to this case generated by Plaintiffs law firm, showing the attomey's fees and some of the

            2t        costs related to this case. I believe the time and charges shown on Exhibit J were reasonably

            22        incurred in this case to obtain an outstanding result. As noted on the last page of Exhibit J, the

            23        hours billed have already been reduced to reflect a reasonable rate. Under the written settlement

            24        agreement, a copy of which is attached hereto as Exhibit L, the defendants and their principal

            25        will pay a total of $160,000 to or for Mr. Mitchell as described therein.
            26               15. Attached hereto as Exhibit K is a true and correct copy from the Internet site of
            27        the United Sates Courts, entitled "The Defender Service Program, which notes that the maximum

            28        amount of $132 per hour paid for Public Defenders in non-capital cases.

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                   I                 16. Mr. Jamison, Mr. Nilsson and I performed this legal work after being appointed
                   2      by the Court, and undertook this work expecting that it could be in lieu of other work for paying

                   ^J     clients.

                   4                 17. We obtained a very favorable result on behalf of Plaintift receiving a total verdict
                   5      of $100,000, in a prisoner civil rights case and ultimately settled for $160,000. Prisoner civil
                   6      rights cases rarely have such a favorable result. In addition, the rights involved in this action,

                   7      those of the proper protection and humane treatment of prisoners, are important and valuable

                   8      rights that must be protected by a humane and advanced society.

                   9                 18. The Plaintiff was represented by an experienced legal team. I have been an
              10          attorney for four years and during that time, I have practiced in litigation.

              11                     19. Micah Nilsson is also an experienced litigator. He was admiued to the State Bar
              t2          of California in 2007 after having received his Juris Doctorate degree from the University of
              13          California, Davis School of Law. He is a member of the firm's Litigation Department,

              t4          Managing Shareholder of the firm's Bakersfield office, and has an extensive practice in the area

              15          of civil litigation. He has tried numerous cases to verdict.

              t6                     I declare under penalty ofperjury that the above is true and correct.

              t7                     Executed this 9ú day ofJanuary, 2018

              18
                                                                           /s/ Justin L. Thomas
              t9                                                           JUSTIN L. THOMAS

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                              DECLARATION OF JUSTIN L. THOMAS IN SUPPORT OF MOTION FOR ATTORNEY'S FEES
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                                                             PROOF OF'SE,RVICE
                 1

                       STATE Of,'CALIX'ORNIA             )
             2                                           )       SS
                 ô
                       COUNTY OF'KERN                    )
                 J
                              I am a citizen of the United States and a resident of the County aforesaid; I am over the
             4         age of eighteen (18) years and not a party to the within-entitled action. My business address is
                       Dowling Aaron Incorporated, 5080 California Avenue, Suite 340 Bakersfield, California,93309.
                 5     On January 9,2018,I served the within document(s):

             6                DECLARATION OT'JUSTIN L. THOMAS IN SUPPORT OF MOTION FOR
                                                  ATTORNEY'S T'EES
             7

                 8
                       X       BY ELECTRONIC cM/ECF sysrnM: I hereby certiff that on January 9,2018,I
                               electronically filed the following document with the Clerk of the Court by using the
                               CIWECF system:
             9
                       Gabrielle De Santis Nield                                Michael Anthony Terhorst
            10
                       Edgar R. Nield                                           BEESON TERHORST, LLP
            11
                       NIELD LAW GROUP, APC                                     510 Bercut Drive, Suite V
                       Westlake Professional Center                             Sacramento, CA 9581l-01I I
            t2         679 Encinitas Blvd, Suite 201                            For Defendant Sgt. Sheldon
                       Encinitas, CA92024
            13
                       For Defendant Chavez
            l4
            15         I further certify that some of the participants in the case are not registered CIWECF users. On
                       DATE, 2017,I have mailed the foregoing documents by first class mail postage pre-paid or have
            16
                       dispatched it to a third party commercial carrier for delivery within three (3) calendar days to the
            t7         above-named non-CM/ECF participant(s).

            18
                       X       F'EDERAL: I declare under penalty of perjury under the laws of the State of California
            19         that the foregoing is true and correct.

            20                 I declare that I am employed in the office of a member of the bar of this court at whose
                       direction the service was made.
            2l
            22         Executed on January 9,2018, at Bakersfield, Califomia.

            23
                                                                        /s/ Rhonda SandidBe
            24                                                          Rhonda Sandidge

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